
The People of the State of New York, Respondent,
againstDouglas McCallum, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Shari Ruth Michels, J.), rendered September 7, 2016, convicting him, upon his plea of guilty, of criminal possession of a controlled substance in the seventh degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Shari Ruth Michels, J.), rendered September 7, 2016, affirmed. 
Defendant's claim that his plea was coerced as a result of the prosecutor's "overcharge" of the case is unpreserved for our review, since he did not make an appropriate postallocution motion (see People v Conley, 135 AD3d 1238, 1239 [2016]), and this claim does not come within the narrow exception to the preservation requirement, inasmuch as defendant did not make any statements during the plea colloquy that cast doubt upon his guilt or otherwise called into question the voluntariness of his plea (see People v Cajigas, 123 AD3d 1299, 1300 [2014]). We decline to review the claim in the interest of justice. As an alternate holding, we find that defendant's unsupported claim of coercion is belied by the record, which reflects that the plea was entered in a knowing, intelligent and voluntary manner with the assistance of counsel.
Defendant is not aggrieved by alleged defects in felony charges that were dismissed on the People's motion as part of the plea (see CPL 470.15[1]; People v Ruiz, 146 AD3d 417 [2017], lv denied 28 NY3d 1188 [2017]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: September 21, 2018










